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                  UNITED STATES DISTRICT COURT                     jy

                  SOUTHERN DISTRICT OF GEORGIA                                  OC)L-<J
                                                                    Ei[LCr i - 1.:,
                             SAVANNAH DIVISION


JOSE ORLANDO GARCIA-DUBAN,           )



                                     )



        Movant,                      )



                                     )



VIM                                  )    Case No. CV412-221
                                     )              CR40-i 4
UNITED STATES OF AMERICA,            )                  hf0 10 0
                                     )



        Respondent.                  )




                                  ORDER
        After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court,

        SO ORDERED this2J/day of            /t4/         , 2013.




                                    B. AVAr1 EDFIELD        '
                                    UNITED STATES DISTRI9"f JUDGE
                                    SOUTHERN DISTRICT oF GEORGIA
